 Case: 1:19-cr-00567 Document #: 182 Filed: 02/09/22 Page 1 of 1 PageID #:850

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 9, 2022:


        MINUTE entry before the Honorable Harry D. Leinenweber: Video conference
held and continued to 2/16/22 at 8:00 a.m. re: MOTION to withdraw as attorney for
Defendant Robert Sylvester Kelly by Greenberg, Leonard, and Grohman [180]. Members
of the public and media may dial +1−929−251−9612, access code: 27642553093, to join
the conference by telephone. Observers of the hearing must remain on mute throughout
the proceeding. Counsel of record have been given the video dial in instructions to join the
call. Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice (maf)




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